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                                 123115



                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF INDIANA
                                INDIANAPOLIS DIVISION


IN RE: COOK MEDICAL, INC. IVC FILTERS
MARKETING, SALES PRACTICES AND                                   Case No. 1:14-ml-2570-RLY-TAB
PRODUCTS LIABILITY LITIGATION                                                      MDL No. 2570




This Document Relates to Plaintiff(s)
Albert Waddle

Civil Case No. 1:21-cv- 06545-RLY-TAB



                                NOTICE OF APPEARANCE

To:    The Clerk of Court and all parties of record

       I am admitted or otherwise authorized to practice in this Court and I appear in this case as

counsel for Plaintiff Albert Waddle.



Dated: August 27, 2021                 Respectfully submitted,

                                       BERTRAM & GRAF, L.L.C.

                                       /s/ Benjamin A. Bertram
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                                 123116



                                 CERTIFICATE OF SERVICE

        I hereby certify that on August 27, 2021, a copy of the foregoing was served
electronically and notice of the service of this document will be sent to all parties by operation of
the Court’s electronic filing system to CM/ECF participants registered to receive service in this
matter. Parties may access this filing through the Court’s system.



                                      /s/ Benjamin A. Bertram
                                      Attorney for Plaintiff
